    Case 1:18-cr-00457-AJT Document 189 Filed 06/06/19 Page 1 of 6 PageID# 1778



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )
                                                     )      No. 1:18-CR-457-AJT
BIJAN RAFIEKIAN, et al.,                             )
                                                     )
        Defendants.                                  )

                         MEMORANDUM IN SUPPORT OF
               MOTION FOR LEAVE TO ENTER A SPECIAL APPEARANCE
                      ON BEHALF OF KAMIL EKIM ALPTEKIN


I.      Introduction

        By this motion (“Motion”) counsel for Kamil Ekim Alptekin respectfully request leave to

enter a special appearance on his behalf for the limited purpose of opposing the Government’s

Motion to establish a crime-fraud exception to the attorney-client privilege between Mr. Alptekin

and his former counsel, Arent Fox LLP.1 Mr. Alptekin seeks this appearance as the holder of the

privilege that the Government seeks to vitiate.2 The Government is trying to take unfair

advantage of Mr. Alptekin’s absence to breach the attorney-client privilege. He should be

afforded the same opportunity to challenge the Government’s unwarranted attack on the

privilege as any non-participant in this trial would be given, namely an opportunity to be heard.

That is why he asks the Court to permit him to make a special appearance.




1
  Counsel for Mr. Alptekin has conferred with counsel for the Government and the Government
does not consent to Mr. Alptekin being allowed to make a special appearance to contest the
Government’s Motion.
2
  The Motion, and any special appearance by Mr. Alptekin, if permitted, is made without
prejudice to any other defenses, procedural or substantive, all of which are reserved.


                                                1
 Case 1:18-cr-00457-AJT Document 189 Filed 06/06/19 Page 2 of 6 PageID# 1779



II.    Procedural Background

       In May 2017, to assist the Special Counsel, Mr. Alptekin’s attorneys from Arent Fox

arranged a voluntary, unsolicited meeting with the Special Counsel’s Office. Mr. Alptekin told

them about his involvement with General Flynn, Mr. Rafiekian and FIG. A few months later, the

Special Counsel’s colleagues informed Mr. Alptekin’s current lawyers that the Special Counsel

disbelieved some of what Mr. Alptekin had told them. They said that neither side had been

prepared for the previous unsolicited meeting and that if Mr. Alptekin changed his rendition of

events and told them the truth (that is, conformed his rendition of the facts to what they

believed), they would operate on a clean slate and all would be forgiven. Mr. Alptekin refused to

conform his facts to their beliefs, and months later this indictment ensued.

       Although Mr. Alptekin was indicted in this case, he has not appeared before this Court

and no proceedings have moved forward as to Mr. Alptekin in this matter. On May 31, 2019,

however, the Government moved this Court to find that statements made by Mr. Alptekin to his

then-counsel, as well as other information or documents that he provided to that counsel, are not

covered by the attorney-client privilege because the information falls within the crime-fraud

exception to the privilege (the “Government’s Motion”).

III.   Argument

       The Court can and should enter an order authorizing Mr. Alptekin’s counsel to appear

specially on his behalf to oppose the Government’s Motion. Courts have discretion to grant

leave to make a special appearance for limited purposes. See, e.g., Prudential Ins. Co. v. McKee,

81 F.2d 508, 511 (4th Cir. 1936) (noting that “the right to specially appear in the federal court is

substantial”). While there is extensive authority regarding the historical function of special

appearances in civil cases, courts, including this one, have allowed special appearances in




                                                  2
 Case 1:18-cr-00457-AJT Document 189 Filed 06/06/19 Page 3 of 6 PageID# 1780



criminal cases. See, e.g., United States v. Kolon Indus., Inc., 926 F. Supp. 2d 794, 797-99 (E.D.

Va. 2013) (granting defendant leave to make a limited appearance for the purpose of moving to

contest purported service of summons and to dismiss indictment for lack of personal

jurisdiction); United States v. Dotcom, No. 12-cr-00003 (E.D. Va. Oct. 5, 2012), Dkt. No. 127

(granting foreign defendant leave to enter limited appearance to move to dismiss indictment for

lack of personal jurisdiction); United States v. Swank Corp., 797 F. Supp. 497, 499 (E.D. Va.

1992) (noting previous grant of leave to make a special appearance to permit the release of assets

to retain counsel); United States v. Tucor Int’l, Inc., 35 F. Supp. 2d 1172, 1176, 1183-85 (N.D.

Cal. 1998) (noting previous grant of leave to make a special appearance to move to dismiss

indictment), aff’d, 189 F.3d 834 (9th Cir. 1999); United States v. Noriega, 683 F. Supp. 1373,

1374 (S.D. Fla. 1988) (granting foreign defendant’s motion to make special appearance to

contest court’s jurisdiction and attack sufficiency of indictment).

       In this case, Mr. Alptekin does not seek to raise jurisdictional issues, but rather to protect

his fundamental right to seek the confidential advice of counsel. At issue here is one of Mr.

Alptekin’s most important and protected rights. See Mohawk Indus., Inc. v. Carpenter, 558 U.S.

100, 108 (2009) (acknowledging “the importance of the attorney-client privilege, which ‘is one

of the oldest recognized privileges for confidential communications’”) (citation omitted); In re

Grand Jury Proceedings #5 Empanelled [sic] Jan. 28, 2004, 401 F.3d 247 (4th Cir. 2005)

(same). The attorney-client privilege, when applicable, “affords all communications between

attorney and client absolute and complete protection from disclosure.” In re Allen, 106 F.3d 582,

600 (4th Cir. 1997).

       Yet, here, the Government seeks to deprive Mr. Alptekin of his right and privilege

without even being given the opportunity to oppose the Government’s Motion. Unlike other




                                                 3
    Case 1:18-cr-00457-AJT Document 189 Filed 06/06/19 Page 4 of 6 PageID# 1781



cases that have denied special appearances to challenge an indictment, Mr. Alptekin seeks only

to be given the opportunity to protect his privilege. Once the privilege is waived and information

is released, the Government’s knowledge of that information cannot be erased.3

        In addition, not allowing Mr. Alptekin to specially appear to oppose the Government’s

Motion would violate Mr. Alptekin’s constitutional due process rights. Because the Government

does not consent to Mr. Alptekin’s special appearance, it is requesting an ex parte hearing on this

issue. The Fourth Circuit has made it clear that absent special circumstances, once the

Government makes a prima facie showing, the privilege holder should have the opportunity to

rebut the prima facie case. “The crime-fraud standard does seem to contemplate the possibility

that the party asserting the privilege may respond with evidence to explain why the vitiating

party’s evidence is not persuasive.” In re Grand Jury Proceedings, Thursday Special Grand

Jury Sept. Term, 1991, 33 F.3d 342, 352 (4th Cir. 1994). The exception to that involves grand

jury proceedings and on-going investigations requiring secrecy. Id. at 353. There is no such

need to maintain secrecy in this case – there is no on-going investigation and there is no

continuing grand jury matter. Therefore, there is no reason that the Government should be

allowed to deny Mr. Alptekin of his due process rights by proceeding on an ex parte basis.

        Counsel respectfully submits that the Court should exercise such discretion to allow a

special appearance by counsel on Mr. Alptekin’s behalf so that he may preserve his fundamental

right to counsel.

IV. Conclusion

        For the foregoing reasons, Mr. Alptekin’s counsel respectfully requests that the Court

grant its Motion for leave to allow counsel to appear specially on his behalf as the privilege

3
 It is not clear why the Government is seeking Mr. Alptekin’s privileged communications in its
case against Mr. Rafiekian. The Government’s motion is at best premature.


                                                 4
 Case 1:18-cr-00457-AJT Document 189 Filed 06/06/19 Page 5 of 6 PageID# 1782



holder for the limited purpose of opposing the Government’s attempt to void the attorney-client

privilege between Mr. Alptekin and his former counsel. If the Court grants the instant Motion,

counsel request that it deem the opposition attached to that Motion filed.



       Respectfully submitted this 6th day of June 2019.


                                             By: /s/ Rodney F. Page___
                                             Rodney F. Page (Virginia Bar No. 12401)
                                             Jennifer Kies Mammen (Virginia Bar No. 73102)
                                             BRYAN CAVE LEIGHTON PAISNER LLP
                                             1155 F Street, N.W.
                                             Suite 700
                                             Washington, D.C. 20004
                                             Telephone: (202) 508-6000
                                             Facsimile: (202) 508-6200
                                             Rodney.Page@bclplaw.com
                                             Jennifer.Mammen@bclplaw.com

                                             Attorneys for Specially-Appearing Defendant
                                             Kamil Ekim Alptekin




                                                 5
 Case 1:18-cr-00457-AJT Document 189 Filed 06/06/19 Page 6 of 6 PageID# 1783



                                  CERTIFICATE OF SERVICE

I hereby certify that on the 6th day of June 2019, I electronically filed the foregoing document
entitled “MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO ENTER A
SPECIAL APPEARANCE ON BEHALF OF KAMIL EKIM ALPTEKIN” with the Clerk of
Court using the CM/ECRF system, which will then send a notification of such filing to the
counsel named below:

James P. Gillis                                      Evan N. Turgron
John T. Gibbs                                        Trial Attorney
Assistant United States Attorneys                    Counterintelligence and Export Control
UNITED STATES ATTORNEY’S OFFICE                             Section
2100 Jamieson Avenue                                 National Security Division
Alexandria, VA 22314                                 UNITED STATES DEPARTMENT OF JUSTICE
Telephone: (703) 299-3700                            950 Pennsylvania Ave., N.W.
Facsimile: (703) 299-3982                            Washington, D.C. 20530
James.P.Gillis@usdoj.gov                             Telephone: (202) 353-0176
John.Gibbs@usdoj.gov                                 Evan.Turgeon@usdoj.gov

Attorneys for the United States of America

Robert Powel Trout                                   James Edward Tysse
TROUT CACHERIS & SOLOMON, PLLC                       AKIN GUMP STRAUSS HAUER & FELD LLP
1627 Eye St. N.W.                                    Robert S. Strauss Tower
Suite 1130                                           2001 K Street NW
Washington, DC 20006                                 Washington, DC 20006
Telephone: (202) 464-3300                            Telephone: (202) 887-4571
Facsimile: (202) 463-3319                            Facsimile: (202) 887-4288
rtrout@troutcacheris.com                             jtysse@akingump.com

Attorneys for Bijan Rafiekian



                                                     By: /s/ Rodney F. Page___
                                                     Rodney F. Page (Virginia Bar No. 12401)
                                                     BRYAN CAVE LEIGHTON PAISNER LLP
                                                     1155 F Street, N.W.
                                                     Suite 700
                                                     Washington, D.C. 20004
                                                     Telephone: (202) 508-6000
                                                     Facsimile: (202) 508-6200
                                                     Rodney.Page@bclplaw.com

                                                     Attorney for Specially-Appearing Defendant
                                                     Kamil Ekim Alptekin
